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                      This is an opportunity to cure is from the original date of 11/13/2024. Today's date is 11/23/2024
                      and you have 10 days to respond to this contract or you will be in default and the new terms
                      and conditions will supersede all prior contracts with prejudice and will stand as truth. Respond
                      to this contract no later than 12/03/2024 to avoid being in default and dishonor.




             Notary__________________



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